Case 3:23-cv-00640-RDM-CA Document 95 Filed 08/13/24 Page 1 of1

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

EDWARD SARTORIS, - Civil No. 3:23-cv-640
Plaintiff - (Judge Mariani)
Vv.
: FILED
PRIMECARE MEDICALCEOAND SCRANTON
STAFF, ef al, . AUG 13 2024
Defendants : PER Amo
‘DEPUTY CLERK
ORDER

AND NOW, this / d bay of August, 2024, upon consideration of Plaintiff's

motions (Docs. 70, 75, 83) to compel discovery, and it appearing that, as of the date of this

Order, Defendants have failed to file a brief in opposition to Plaintiffs motions, see LOCAL

RULE OF CourT 7.6, IT 1S HEREBY ORDERED THAT:

1. On or before August 12, 2024, Defendants shall FILE a brief in opposition to

Plaintiff's motions to compel.

2. Plaintiff's requests (Docs. 63, 68) to extend the discovery deadline are
DISMISSED without prejudice pending resolution of Plaintiff's motions to
compel.

r

LAs

Rébert D. Mbriant~
United States District Judge
